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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO

TERRY KIRBY,

       Plaintiff,                                          Civ No. 19-1090KRS/GJF

v.

UNITED PARCEL SERVICE, INC., d/b/a
UNITED PARCEL SERVICE, CO.

       Defendant.


                        ORDER TO DISMISS WITH PREJUDICE

       This Court having reviewed Plaintiff’s Stipulated Motion to Dismiss with Prejudice finds

that the motion is well taken and should be GRANTED.

       It is, therefore, ORDERED that this matter is dismissed with prejudice.

       Dated this 6th day of February, 2020.



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                                                     HONORABLE JUDITH C. HERRERA


Submitted:

By: /s/ Clayton S. Hightower
Clayton S. Hightower (csh@sbcw.com)
Clayton Hightower
701 W. Country Club Road
Roswell NM 88202-0550
Attorney for Plaintiff Terry Kirby

Approved:
By: /s/ David T. Barton (w/ permission)
David T. Barton
Attorney for Defendant United Parcel Service, Inc.
